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 6   LATOYA WATT
                               IN THE UNITED STATES DISTRICT COURT
 7                                  FOR THE DISTRICT OF NEVADA
 8
                                                      )   Case No. 2:16-cv-02061-RFB-CWH
     LATOYA WATT,                                     )
 9
                                                      )
                           Plaintiff,                 )
10                                                        NOTICE OF DISMISSAL
                                                      )
     v.
                                                      )
11
                                                      )
     PROG LEASING, LLC D/B/A                          )
12   PROGRESSIVE LEASING,                             )
                           Defendant.                 )
13

14          Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), PROG LEASING, LLC D/B/A

15   PROGRESSIVE LEASING, the Defendant, not having filed or served answers or motions for

16
     summary judgment; the Plaintiff in the above-entitled action, as to PROG LEASING, LLC

     D/B/A PROGRESSIVE LEASING requests, authorizes, and directs the Clerk of the Court to
17
     enter a judgment of dismissal without prejudice.
18
            Dated:             January 17, 2017
19
                                             Respectfully submitted,
20
                                             By:    /s/David H. Krieger, Esq.
21                                                  David H. Krieger, Esq. (Nevada Bar No. 9086)
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